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                                    IN THE UNITED STATES DISTRICT COURT
                                    FOR THE SOUTHERN DISTRICT OF TEXAS
                                             HOUSTON DIVISION

SECURITIES AND EXCHANGE                                                            §
COMMISSION,                                                                        §
                                                                                   §
                       Plaintiff,                                                  §       Civil Action No.
                                                                                   §
           vs.                                                                     §

JON C. GINDER, §
NORTHAMERICAN ENERGY GROUP, INC., §
                                                                                   §


AND NORTHAMERICAN ENERGY §
GROUP, CORP., §
                                                                                   §
                       Defendants.                                                 §
                                                                                   §

                                                                 COMPLAINT

           The United States Securities and Exchange Commission ("Commission") files suit

against Defendants Jon C. Ginder, Northamerican Energy Group, Inc., and Northamerican

Energy Group, Corp., and would respectfully show the Court as follows:

                                                                   SUMMARY

            1. From February 2008 to May 2010, Jon C. Ginder fraudulently raised

approximately $3.5 milion from over 50 investors nationwide through three unregistered oil and

gas limited partnership offerings. Ginder solicited investors through television advertisements


on CNBC and Fox Business Channel touting annual returns of 40% from "low risk producing

wells." Offering documents for the first offering claimed that "based upon historical data and

documented cases the actual production increases may be significantly higher than anticipated

returns (of 39% to over 48%)." Ginder's representations were fraudulent on their face because

the historical oil and gas production from the partnership leases was very poor, many of                      the wells

had no recent production history and Ginder had no reasonable basis for such speculative claims.




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         2. Ginder's misrepresentations were not limited solely to wildly optimistic

projections of oil production from marginal wells. In connection with the first offering that

raised in excess of $2.4 milion, offering documents claimed that investor funds would be used

only for partnership purposes, specifically to purchase leases and renovate existing wells to

"further enhance monthly production." The documents represented that all expenditures in

excess of $50,000 per well required approval of 75% of the partners, and that his company

Northamerican Energy Group, Inc., which served as general parner, would "not make any

money unless you, our partners, make money by sharng in the profits." Contrary to these

representations, Ginder utilized $800,000 of investor funds to purchase leases from a private

company he controlled for an undisclosed profit of approximately $700,000 in cash plus an

additional ten partnership units worth $60,000 per unit - in essence an undisclosed profit of $1.3

milion. Further, without the parners' approval, Ginder withdrew $300,000 from the

partnership's operating account to make an unsecured and non-interest bearing "loan" to a penny

stock company operated by a personal frend and in which Ginder owned stock. The general

partner has also "borrowed" over $478,000 from the partnership. None of these funds were

repaid to the partnership. Ginder also paid an offshore firm at least $210,000 of investor funds

for the television advertising campaign that generated investor leads for the offering. None of

the above expenditures, which total approximately 70% of the offering proceeds, were approved

by investors.

         3. Ginder raised $900,000 in another ofthe limited partnership offerings. Unlike the


other offerings, the limited partnership is merely a passive investor in an entity engaged in oil

and gas exploration. In connection with this offering, Ginder made material omissions




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concerning his pnor activities, including the fact that he misapplied funds from the first

parnership.

           4. The Commission, in the interest of protecting investors from any further illegal

activity, brings this action against the Defendants seeking emergency orders freezing assets,

appointing a receiver and providing other equitable relief as well as preliminary and permanent

injunctive relief, disgorgement of all ilicit profits and benefits Defendants received plus

prejudgment interest and civil monetary penalties.

                                  JURISDICTION AND VENUE

           5. This Court has jurisdiction over this action pursuant to § 22(a) of the Securities


Act of 1933 (the "Securities Act") and § 27 of the Securities Exchange Act of 1934 (the


"Exchange Axt"). Defendants, directly and indirectly, made use of the mails and of the means

and instrumentalities of interstate commerce in connection with the acts, practices and courses of

business described in this Complaint. Venue is proper because many of the transactions, acts,

practices and courses of business described below occurred within the jurisdiction of the

Southern District of    Texas.

                                             PARTIES

            6. Jon C. Ginder ("Ginder"), age 67, is a resident of Houston, Texas, and is the

President and CEO of the Northamerican Energy Group, Inc. and Northamerican Energy Group,

Corp. Ginder also operates oil and gas leases under an assumed name, Northamerican Service

Group ("NSG").

            7. Northamerican Energy Group. Inc.. ("NEG") is a Nevada corporation

incorporated by Ginder in March 2004, with its principal place of business in Houston, Texas.

NEG is the general partner of two limited partnerships, Northamerican Energy Group Master

Limited Partnership ("MLP") and Northamerican Energy Group Master Limited Parnership II
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("MLP II"). In approximately December 2009, Ginder ceased the MLP II offering and put MLP

II investors into MLP.

            8. Northamerican Energy Group. Corp.. ("NEGC") is a Nevada corporation

incorporated by Ginder in March 1997, with its principal place of            business in Houston, Texas.

NEGC is the general partner of the Sweet Limited Partnership, one of the limited partnerships

formed by Ginder.

                                                        BACKGROUND FACTS

            9. Ginder formed three limited parnerships and solicited investors to purchase units


in the parnerships using fraudulent offering documents. None of the offerings were registered

with the Commission and Ginder solicited investors through a general solicitation. The three

partnerships Ginder formed were the Northamerican Energy Group Master Limited Partnership

("MLP"), the Northamerican Energy Group Master Limited Partnership II ("MLP II") and the

Sweet Limited Partnership.

                                                          THE MLP OFFERING

            10. Ginder formed MLP in February 2008 for the purpose of acquiring seven oil and

gas leases with the intent of repairing and reworking the wells on the leases to make them

commercially productive. According to the Private Placement Memorandum (PPM) prepared by

Ginder, 100 limited parnership units were offered at $60,000 per unit for a total offering of $6

milion. Ginder, under his assumed name of NSG, would operate the wells and NSG and NEG

would be paid a total fee of 5% of the net oil and gas revenue. NEG would also receive 25% of

the net operating income. All funds received from investors were to be used to purchase leases

and perform the work necessar to make the wells commercially profitable.




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            11. Investors in MLP were publicly solicited through television advertisements aired

on CNBC and Fox Business News, despite the fact that the MLP offering memorandum clearly

stated "NO PUBLIC SOLICITATION OR ADVERTISING IN ANY FORM WHATSOVER

MAY BE EMPLOYED IN THE OFFERING OF THE UNITS...." Ginder paid a Belize

company for the advertising campaign. Ginder reviewed a version of the advertisement prior to

its use. The advertisements claimed investors could ear anual returns of 40% from "low risk

producing wells." The names and telephone numbers of       prospective investors who responded to

the advertisements were forwarded to Ginder, who then personally called each prospect. The

MLP subscription documents made no inquiry into the accreditation status or investment

experience of potential investors. With Ginder's knowledge, one investor took out a mortgage

on his residence to raise funds to invest, and another investor, a former railroad worker, invested

$60,000 received as a result of the settlement of a job related injury. In all, approximately 44

investors residing in at least 17 states purchased a total of 53 parnership units allowing Ginder to

raise in excess of $2.4 milion in investor funds.

            12. In the MLP offering, Ginder made numerous material misrepresentations and

omissions regarding expected returns. The PPM projected "conservative" annual returns ranging

from 35% to 48% for the first year and an average of 30% to 39% during the next 10 years.

These returns were based on estimated annual production of approximately 91,000 barrels of oiL.

According to the PPM, the anticipated returns were "based upon historical data and documented

cases." Ginder failed to disclose that the historical production figures for the leases show that

since January 1993 the 15 year total production from the leases was only 67,000 barrels of oiL.

Nor did Ginder disclose the basis he used for the wildly fantastic projection that reworking the

wells could possibly lead to an anual production rate of91,000 barrels. The reason he failed to


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disclose the basis for this projection is simple: he had none. There were no reserve reports or

any other credible basis upon which he could form a reasonable belief that the wells could be

reworked to yield a production rate in a single year that would exceed over 135% of the prior

combined 15 years worth of productivity.

            13. The actual production of the wells after the formation of the partnership confirms

that Ginder had no reasonable basis for the projections he used to mislead investors. Even after

purportedly reworking several of the parership wells, the partnership's total production for

2008, the first year of operation, was approximately 3,522 barrels of oil, compared to the 91,000

barels projected in the PPM. The partnership's total production for 2009 was only 3,986 barrels

of oiL. Ginder knew by at least the second quarter of 2008 that the partnership was not meeting

its anticipated returns, yet, he continued to raise funds for MLP until at least March 2010, using

the same false and misleading projections and not disclosing that the partnership was operating at

a loss.

            14. Although the parnership has never earned a profit, Ginder nevertheless
distributed approximately $18,000 to the initial MLP investors for the second quarter 2008 (the

first quarter of   partnership operations). In his cover letter, Ginder referred to the enclosed check

as "a prorated distribution of Partners Net Operation income." An accompanying parnership

financial statement, however, reflects that the partnership had a net loss for the quarter of


$144,000. The actual source ofthe distribution was an oil and gas revenue check. Ginder made

the distribution without deducting any expenses and at the same time also inappropriately paid

approximately $18,000 to NEG for its share of "net income." Ginder thereafter fraudulently

represented to new investors that the partnership had made a distribution. In a letter to a

prospective investor dated August 27, 2008, Ginder stated "the distrbution of quarterly


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parnership income for (MLP) was scheduled for, and completed, on July 31, 2008... (g)iven the

current, and projected, price of oil we are confident the Parnerships annual income with meet, or

exceed, all expectations...." There was no disclosure that the parnership suffered an operating


loss for the quarer or that the distrbution was a sham.

         15. The MLP offering materials also contained the following representations
regarding the use of partnership fuds:

             . the purose of the parnership was to invest in, and operate producing oil and gas


                 leases, and that checks drawn upon the partnership account or accounts would

                 only be used for partnership purposes;

             . partnerships funds "wil be used as they are received to begin workovers,

                 renovations, equipment replacement, perforate new pay zones (both gas and oil)

                  chemically treat wells and effect all methods necessary to further enhance the

                 monthly production;"

             . "that except in the case of an emergency, ALL EXPENDITURES IN EXCESS

                  OF $50,000 PER WELL REQUIRE THE APPROVAL OF 75% OF THE

                  PARTNERS" (emphasis in original); and

             . "we (NEG) get reimbursed only for our costs and expenses. We do not make any

                  money unless you, our partners, make money by sharing in the profits. The more

                  money you make, the more money we make."

         16. In one of his very first acts as general partner, however, Ginder in June 2008


wrote three consecutive numbered checks from the MLP account in the amount of $1 00,000 each

to a Bulletin Board traded company founded by his frend and in which Ginder owned stock.

Without the approval of the partners, Ginder made a non-interest bearng loan to the company.

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Despite the fact that the loan was made in breach of his duties as general parner and without

partnership approval, Ginder caused the loan to appear as a receivable from the company on the

parnership balance sheet mailed to investors in July 2008. After several investors complained to

Ginder, he asserted that he made the loan because the $300,000 was not needed by the

parnership, it was not earning much interest in the parnership's money market account, and the

loan would benefit the partnership because his frend had connections with a large oil company.

He failed to disclose, however, that at the time the loan was made, it was unsecured, earning no

interest and that Ginder was a shareholder in the company. After the company failed to repay the

loan, NEG assumed the obligation to repay the money and pledged its assets against the debt.

The loan remains unpaid to the partnership.

         17. Ginder also made unauthorized payments of investor funds to NEG, the general


partner. Ginder failed to open a separate partnership bank account until April 2008, two months

after forming the partnership. During the interim, he raised approximately $240,000, all of


which he deposited into a personal account styled "Jon Ginder d/b/a Northamerican Energy

Group." After opening the partnership account, he transferred an additional $1.1 milion from

the partnership account to the NEG "d/b/a" account, $800,000 of which was for the acquisition

of seven oil and gas leases that he transferred to the partnership. Although the PPM represented

that NEG owned specific oil and gas production leases that it intended to transfer to the

partnership, it contained absolutely no disclosure that NEG would be paid for the leases or the

profit to be made by NEG from the transaction. Ginder's cost basis in the leases, on information

and belief, is approximately $100,000. In addition to transferrng to himself the $800,000 in

cash for the leases, he also transferred 10 MLP parnership units valued at $60,000 each.




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Accordingly, Ginder realized an undisclosed profit of approximately $1.3 milion from NEG's

transfer of the seven oil and gas leases to the partnership.

         18. Bank records also reflect that rather than using the fuds "earned" on the sale of

leases to repay the loan assumed by NEG, Ginder used approximately $280,000 of investor funds

to acquire two office buildings to house his oil and gas operations. Just recently, MLP investors

were advised that they are also being charged $1,500 a month for leasing the building that

Ginder used their funds to purchase. Contrary to his statement that NEG would only make

money when investors did, Ginder continues to profit at investors' expense.

         19. Finally, Ginder paid $210,000 of            investor funds to the offshore promotional firm

that produced the television advertisements for the offering. As with the other unauthorized

expenses, this expenditure was not disclosed in the PPM and never approved by investors.

                                                THE MLP II OFFERING

         20. In June 2008, Ginder formed a second $6 million limited partnership offering,

MLP II, which was structured like MLP, and he also publicly solicited investors through

television advertisements. Ginder again promised astronomical returns, purportedly based on

historical figures. Ginder had no support for the projections made to prospective investors. In

addition, there was no disclosure ofNEG's initial partnership offering and the fact that investor

funds had been misused, that the MLP partnership failed to meet its projected returns or that it

operated at a loss. Only two investors purchased units at $60,000 each in MLP II. In
approximately February 2009, Ginder ceased the offering and transferred the investors' interests

to MLP. No leases were ever purchased by or conveyed to MLP II.




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                      THE SWEET LIMITED PARTNERSHIP OFFERING

        21. In December 2009, Ginder began selling parnership units in the Sweet Limited

Partnership (the "Sweet" offering or parnership). Ginder offered 18 limited parnership unts at

$50,000 per unit. The general parner of the limited partnership is. NEGC. Ginder fully

subscribed the parnership raising $900,000 from approximately nine investors, including two

investors from MLP. Ginder also used $35,000 remaining from the MLP offering to purchase a

partial unit in the Sweet partnership in the name of MLP, without MLP partnership approvaL.

Unlike the first two parnership offerings, neither Ginder nor any of his companies had any role

in the acquisition of the lease, or the drilling and operation of the Sweet partnership well. The

contractor and operator on the well is a third party company and the Sweet partnership is merely

a passive investor in the well for which it received an approximate 19% working interest.

According to the PPM, NEGC wil receive a 3% management fee and 25% of the partnership's

Net Operating Revenue.

        22. As in the first two offerings, Ginder solicited investors through television


advertisements. Further, Ginder made material omissions in connection with the Sweet offering.

For example, he failed to disclose that MLP had never met its projected oil and gas production

estimates and had operated at a loss since its inception. He also failed to disclose that he had

misappropriated $300,000 of MLP investor funds in order to make an unsecured non-interest

bearng loan to a penny stock company in which he had an interest. These omissions are

paricularly material in light of the fact that the Sweet PPM states: "(NEGC) is currently the

General Partner and a Limited Partner in Northamerican Energy Master Limited Partnership ....

that currently owns and operates leases with a total of 64 wells in Pecos County, Texas." In fact,

NEG, not NEGC, is the general partner of MLP. Further, even though NEGC is listed as the


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General Partner of the parnership, Ginder has not set up a separate NEGC bank account.

Instead, payments relating to offering costs from the Sweet parnership account to NEGC have

been deposited into same "Jon Ginder d/b/a NEG" account that received funds from the MLP

offerings.

                                      ONGOING ACTIVITIES

        23. The NEG website continues to solicit investments. For example, the site contains

the following statements:

             . Northamerican Energy Group's mission is to provide low risk oil and gas

                 investments via a direct participation program. These programs give the

                 investor/parners a direct ownership position in the wells and leases from which

                 they receive quarterly net revenue disbursements from the working interest

                  income received by the Partnership.

             . Investing in Partnership ( c )ome and visit with us here in Houston and see first


                 hand how we accomplish outstanding quarterly income for our parners. You'll be

                  glad you did.

             . Private Placement Memorandum: Current oil prices and the fact that we offer

                  our investor/partners ownership in proven production allows us to offer returns far

                  greater that they might be able to generate in the current stock market.

             . Please contact us if you are interested in obtaining a Private Placement

                  Memorandum package.

         24. Further, Ginder continues to mislead investors and misuse investor funds. After


repeated requests from investors, on July 19, 2010, Ginder finally mailed the 2010 first quarter

report to MLP investors. The report discloses that during the quarter, the parnership sold three

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additional partnership units for $60,000 each. At the time of their investment, Ginder failed to

disclose to any of these investors that the parnership had been operating at a loss since the

second quarter of2008. While the report disclosed that the parnership had incurred a $144,000

net loss for the quarter, Ginder again failed to disclose to the new investors that the partnership

had a cumulative operating loss of at least $700,000. In his cover letter, Ginder disclosed for the

first time, that NEG "had chose to accrue a total of $258,988 in years ending 2008 and 2009 thus

reducing the costs to (MLP)." He goes on to state that "unfortately, we can no longer absorb

these costs in 2010 and accordingly have biled MLP ($36,685)... and these costs are included in

the enclosed 151 Quarer Partnership Financials." The accrued charges include $1,500 in monthly

rental charges for the use ofNEG's building that Ginder purchased with parnership funds. The

report further reflects that NEG had borrowed an additional $46,000 from the partnership during

the quarter, increasing its payable to the parnership to approximately $774,000. MLP investors

have yet to receive a report for the 2010 second quarter.

                                                                CLAIMS

                                                           FIRST CLAIM
                                Violations of Sections 5( a) and 5( c) of the Securities Act


           25. Plaintiff Commission repeats and incorporates paragraphs 1 through 24 of this


Complaint by reference as if set forth verbatim.

           26. Defendants, directly or indirectly, singly or in concert with others, have been

offering to sell, selling and delivering after sale, certain securities, and has been, directly and

indirectly: (a) making use of             the means and instrments of     transportation and communication in

interstate commerce and of the mails to sell securities, through the use of written contracts,

offering documents and otherwise; (b) carring and causing to be carred through the mails and


in interstate commerce by the means and instruments of transportation, such securities for the
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purpose of sale and for delivery after sale; and ( c) making use of the means or instruments of

transportation and communication in interstate commerce and of the mails to offer to sell such

securities.

           27. As described in paragraphs 1 through 24, Defendants' securities were offered and


sold to the public through a general solicitation of investors. No registration statements were


ever filed with the Commission or otherwise in effect with respect to these transactions.

            28. By reason of the foregoing, Defendants violated and, unless enjoined, wil

continue to violate Sections 5(a) and 5(c) of              the Securities Act (15 U.S.C. §§77e(a) and 77e(c)).

                                                      SECOND CLAIM
                                       Violations of Section 17(a) of the Securities Act

            29. Plaintiff Commission repeats and incorporates paragraphs 1 through 24 of this


Complaint by reference as if set forth verbatim.

            30. Defendants, directly or indirectly, singly, in concert with others, in the offer and

sale of securities, by use of the means and instruments of transportation and communication in

interstate commerce and by use ofthe mails, have: (a) employed devices, schemes or artifices to

defraud; (b) obtained money or property by means of untrue statements of material fact or

omissions to state material facts necessary in order to make the statements made, in light of the

circumstances under which they were made, not misleading; and (c) engaged in transactions,

practices or courses of              business which operate or would operate as a fraud or deceit.

            31. As par of and in fuherance of this scheme, Defendants, directly and indirectly,

prepared, disseminated or used contracts, written offering documents, promotional materials,

investor and other correspondence, and oral presentations, which contained untrue statements of

material fact and which omitted to state material facts necessar in order to make the statements



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 made, in light of the circumstances under which they were made, not misleading, including, but

 not limited to, those statements and omissions set forth in paragraph 1 through 24 above.

             32. Defendants made the above-referenced misrepresentations and omissions

 knowingly or with severe recklessness with regard for the truth. Defendants were also negligent

 in their actions regarding the representations and omissions alleged herein.

             33. By reason of the foregoing, Defendants violated, and unless enjoined, will

 continue to violate Section 17(a) of                  the Securities Act (15 U.S.c. § 77q(a)).

                                                               THIRD CLAIM
                          Violation of      Section 10(b) of      the Exchange Act and Rule 10b-5


             34. Plaintiff Commission repeats and incorporates paragraphs 1 through 24 of this


 Complaint by reference as if set forth verbatim.

             35. Defendants, directly or indirectly, singly or in concert with others, in connection

. with the purchase and sale of securities, by use of the means and instrumentalities of interstate

 commerce and by use of                  the mails have: (a) employed devices, schemes and artifices to defraud;

 (b) made untrue statements of material facts and omitted to state material facts necessary in
 order to make the statements made, in light of the circumstances under which they were made,

 not misleading; and ( c) engaged in acts, practices and courses of business which operate as a

 fraud and deceit upon purchasers, prospective purchasers and other persons.

             36. As a par of and in furtherance of their scheme, Defendants, directly and

 indirectly, prepared, disseminated or used contracts, written offering documents, promotional

 materials, investor and other correspondence, and oral presentations, which contained untrue

 statements of material facts and misrepresentations of material facts, and which omitted to state

 material facts necessary in order to make the statements made, in light of the circumstances




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under which they were made, not misleading, including, but not limited to, those set forth in

Paragraphs 1 through 24 above.

              37. Defendants made the above-referenced misrepresentations and omissions

knowingly or with severe recklessness regarding the trth.

              38. By reason of the foregoing, Defendants violated and, unless enjoined, wil

continue to       violate the provisions of                Section lO(b) of     the Exchange Act (15 U.S.C. § 78j(b)) and

Rule 10b-5 thereunder (17 C.F.R. § 240.                            1   Ob-5).

                                                         RELIEF REQUESTED

              The Commission seeks the following relief:

              39. Emergency orders freezing the Defendants assets, ordering an accounting,

directing defendants to preserve documents and appointing a receiver to take control of the

Defendants assets to marshal and preserve those assets for the benefit of investors.

              40. Orders ofthe Court preliminarly and permanently enjoining the Defendants, their


agents, servants, employees, attorneys and all persons in active concert or participation with

them who receive actual notice of the injunction by personal service or otherwise, and each of

them, from future violations of Sections 5(a), 5(c) and 17(a) of                         the Securities Act, (15 U.S.C. §§

77e(a), 77e(c) and 77q(a)), and Section 10(b) the Exchange Act, (15 U.S.C. § 78j(b)), and of

Rule 10b-5 (17 C.F.R. § 240.10b-5) thereunder.

              41. An order of the Court directing Defendants to disgorge an amount equal to the

funds and benefits obtained ilegally as a result of the violations alleged, plus prejudgment


interest on that amount.

              42. An order of the Court directing Defendants to pay civil monetary penalties in an .

amount determined as appropriate by the Court pursuant to Section 20( d) of the Securities Act


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(15 U.S.C. § 77t(d)) and Section 21(d) of the Exchange Act (15 U.S.c. § 78u(d)) for their
violations of the federal securities laws as alleged herein.

            43. All further relief as the Court may deem just and proper.



DATED: August 11,2010                          Respectfully submitted,




                                               H~ti
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